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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF SOUTH CAROLINA


    IN RE: AQUEOUS FILM-FORMING FOAMS                               )   Master Docket No.:
    PRODUCTS LIABILITY LITIGATION                                   )   2:18-mn-2873-RMG


                                                                    )
    CITY OF CAMDEN, et al.,                                         )   Civil Action No.:
                                                                    )   2:23-cv-03147-RMG
                    Plaintiffs,                                     )
                                                                    )
    -vs-                                                            )
                                                                    )
    3M COMPANY,                                                     )
                                                                    )
                    Defendant.                                      )


                          CONSENT MOTION TO AMEND EXHIBITS TO
                           MOTION FOR PRELIMINARY APPROVAL

            Plaintiffs, City of Camden, City of Brockton, City of Sioux Falls, California Water Service

Company, City of Del Ray Beach, Coraopolis Water & Sewer Authority, Township of Verona,

Dutchess County Water & Wastewater Authority and Dalton Farms Water System, City of South

Shore, City of Freeport, Martinsburg Municipal Authority, Seaman Cottages, Village of

Bridgeport, City of Benwood, Niagara County, City of Pineville, and City of Iuka (collectively,

“Plaintiffs”), by and through Proposed Class Counsel, and with the consent of Defendant 3M

Company (“3M”) and the State and other sovereign signatories below (the “Sovereigns”), 1 move




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    The Sovereigns are Arizona, California, Colorado, Connecticut, Hawaii, Maine, Maryland,
Massachusetts, Minnesota, New Hampshire, New Jersey, New Mexico, New York, Ohio,
Pennsylvania, Rhode Island, Tennessee, Texas, Vermont, and Wisconsin, as well as the District of
Columbia, and the Commonwealth of the Northern Mariana Islands. At the time of this filing, the
Commonwealth of Puerto Rico had not officially signed on to this consent motion, but did notify
the parties that given the changes set forth herein, Puerto Rico did not intend to file an objection
to the Motion for Preliminary Approval.


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to amend certain of the exhibits to Plaintiffs’ Motion for Preliminary Approval of Class Settlement,

for Certification of Settlement Class and for Permission to Disseminate Class Notice (the

“Preliminary Approval Motion”) (2:23-cv-03147 ECF No. 10; 2:18-mn-2873 ECF No. 3370). The

grounds for this motion are as follows:

       1.       Plaintiffs filed the Preliminary Approval Motion on July 3, 2023. The Preliminary

Approval Motion attached as exhibits, among other things, a proposed Order granting preliminary

approval of Plaintiffs’ and 3M’s Settlement and other relief (the “Proposed Preliminary Approval

Order”) (Ex. 1 to the Preliminary Approval Motion, ECF No. 10-2; ECF No. 3370-2) and a

Settlement Agreement Between Public Water Systems and 3M Company (the “3M Settlement

Agreement”) (Ex. 2 to same, ECF No. 10-3; ECF No. 3370-3).

       2.      After the filing of the Preliminary Approval Motion, the Sovereigns filed a motion

to intervene in this case (ECF No. 35; ECF No. 3460) and an omnibus opposition to the Preliminary

Approval Motion (ECF No. 37; ECF No. 3462). Certain Sovereigns also filed supplemental

oppositions to the Preliminary Approval Motion. ECF No. 38/ECF No. 3464 (California, District

of Columbia, Pennsylvania, and Puerto Rico); ECF No. 39/ECF No. 3465 (Maine and Vermont).

The California State Water Resources Control Board and the California Department of Corrections

and Rehabilitation (the “California Agencies”) filed a joinder in the omnibus opposition and one

of the supplemental oppositions (ECF No. 40; ECF No. 3466).

       3.      Proposed Class Counsel, 3M, and the Sovereigns have met and conferred

extensively about issues raised by the Sovereigns concerning the 3M Settlement Agreement. Those

discussions and other communications have resulted in the agreements to revise the 3M Settlement

Agreement set forth in Exhibit 2 (attached hereto) and described in paragraphs 5–7 and 9–16




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herein, only. Neither the Settlement Amount (Ex. 1, §§ 2.66, 3.1, 6.1, 6.12) nor the timing of 3M’s

payments (Ex. 1, §§ 6.7, 6.8, 6.12; Ex. K) has changed.

       4.      Plaintiffs, by and through Proposed Class Counsel, and 3M have also agreed to

clarifications of the Proposed Preliminary Approval Order, the 3M Settlement Agreement, and

Exhibits B, C, D, E, F, H, I, K, M, N, and P to the 3M Settlement Agreement. Those clarifications

are reflected in the attached documents at Exhibits 1 to 11 hereto. A short summary of the

clarifications set forth in the attached Exhibits follows:

       5.      The Plaintiffs and 3M agreed to clarify the definition of “Drinking Water” in the

3M Settlement Agreement. Ex. 1, § 2.23.

       6.      The Plaintiffs and 3M agreed to clarify the definition of “Releasing Parties” in the

3M Settlement Agreement. Ex. 1, § 2.61.

       7.      The Plaintiffs and 3M agreed to add a definition of “State” in the 3M Settlement

Agreement. Ex. 1, § 2.72.

       8.      The Plaintiffs and 3M agreed to revise the 3M Settlement Agreement to account

for a recent settlement. Ex. 1, §§ 6.7.2, 6.8.6, 6.12.

       9.      The Plaintiffs and 3M agreed to revise the 3M Settlement Agreement to extend the

period for Requests for Exclusion to 90 days. Ex. 1, § 8.5.

       10.     The Plaintiffs and 3M agreed to clarify the “Protection of Ratepayers” provision of

the 3M Settlement Agreement. Ex. 1, § 11.4.

       11.     The Plaintiffs and 3M agreed to revise the 3M Settlement Agreement to replace the

“Contribution and Indemnity” provision with a “Protection Against Claims-Over” provision. Ex.

1, §§ 2.11, 11.6.




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       12.     The Plaintiffs and 3M agreed to add a “Liens” provision in the 3M Settlement

Agreement. Ex. 1, § 11.7.

       13.     The Plaintiffs and 3M agreed to add a provision regarding Claims owned by a State

or the federal government in the 3M Settlement Agreement. Ex. 1, § 11.10.

       14.     The Plaintiffs and 3M agreed to add a sentence to the “No Admission of

Wrongdoing or Liability” provision of the 3M Settlement Agreement. Ex. 1, § 13.3.

       15.     The Plaintiffs and 3M agreed to clarify the “More Favorable Terms in Other

Settlements” provision of the 3M Settlement Agreement. Ex. 1, § 13.4.1.

       16.     The Plaintiffs and 3M agreed to certain other typographical corrections in the 3M

Settlement Agreement. Ex. 1, §§ 5.1, 5.2.

       17.     The Plaintiffs and 3M agreed to update and/or add certain information to and

correct certain typographical issues in the proposed Notice (Ex. B to the 3M Settlement

Agreement), Notice Plan (Ex. C to same) and the Summary Notice (Ex. M to same). Exs. 2, 3, 4.

       18.     The Plaintiffs and 3M agreed to revise the lists of Phase One Eligible Claimants

(Ex. E to the 3M Settlement Agreement), Phase Two Eligible Claimants (Ex. F to same), Systems

Owned by a State Government (Ex. H to same), Systems Owned by the Federal Government (Ex.

I to same), and Potential Eligible Claimant Plaintiffs (Ex. N to same) to reflect more current and

accurate information. Exs. 5, 6, 7, 8, 9.

       19.     The Plaintiffs and 3M agreed to revise the Payment Schedule (Ex. K to the 3M

Settlement Agreement) to account for a recent settlement. Ex. 10.

       20.     The Plaintiffs and 3M agreed to clarify the Letter from Releasing Party (Ex. P to

the 3M Settlement Agreement) to better reflect the intent of the settlement. Ex. 11.




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       21.     The Plaintiffs and 3M also agreed that any stay of or injunction against litigation

by Class Members or Released Persons, including but not limited to the invocation of the All Writs

Act, shall not apply to cases brought by States (as the term is defined in Ex. 1, § 2.72).

       22.     In addition, Proposed Class Counsel have confirmed with the Sovereigns that they

have always intended to establish a settlement-specific website with information that will allow

Class Members to derive a good-faith estimate of what they may receive under the 3M Settlement

Agreement if they participate in it, which is now live online, unrestricted, and accessible to the

public at www.PFASWaterProviderSettlement.com. This reference material is a good faith

estimate only and not the actual settlement awards because allocations depend on data that is not

publicly available, the extent of participation rates among Class Members is unknown, and the full

extent of Impacted Water Sources is unknown. These factors are unknowable until all Claims

Forms have been submitted and processed; however, the reference material will nonetheless prove

useful in providing a good-faith estimate and is now available on the settlement-specific website,

www.PFASWaterProviderSettlement.com.

       23.     The Sovereigns and the California Agencies have agreed that, with the

aforementioned clarifications and revisions to the 3M Settlement Agreement (see supra paragraphs

5–7 and 9–16 herein), they do not oppose the Preliminary Approval Motion.

       24.     Based on the clarifications and revisions to the 3M Settlement Agreement (see

supra paragraphs 5 to 16 herein), the Sovereigns have agreed to withdraw their motion for

intervention (ECF No. 35; ECF No. 3460), their omnibus opposition to the Preliminary Approval

Motion (ECF No. 37; ECF No. 3462), and their supplemental oppositions to the Preliminary

Approval Motion (ECF No. 38; ECF No. 3464). The California Agencies have agreed to withdraw




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their joinder in opposition to the Preliminary Approval Motion (ECF No. 40; ECF No. 3466) by

separate notice of withdrawal.

       Accordingly, the Plaintiffs, 3M, and the Sovereigns respectfully request that the Court

consider the attached clarifications as part of the proposed 3M Settlement Agreement and the

Proposed Preliminary Approval Order when addressing the pending Preliminary Approval

Motion.


Dated: August 28, 2023




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2023, I electronically filed the foregoing document with

the Clerk of Court using the CM/ECF system which will send notification of such filing to all

attorneys of record.



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Agreed to this 28th day of August, 2023.

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Agreed to this 28th day of August, 2023.

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